Appellate Case: 23-9509    Document: 010110895101    Date Filed: 07/27/2023   Page: 1
                                                                              FILED
                                                                  United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                     Tenth Circuit

                              FOR THE TENTH CIRCUIT                      July 27, 2023
                          _________________________________
                                                                     Christopher M. Wolpert
                                                                         Clerk of Court
  STATE OF UTAH, by and through its
  Governor, Spencer J. Cox, and its Attorney
  General, Sean D. Reyes,

        Petitioner,

  v.                                                      No. 23-9509
                                               (EPA No. EPA-R08-OAR-2022-315)
  UNITED STATES ENVIRONMENTAL                   (Environmental Protection Agency)
  PROTECTION AGENCY; MICHAEL S.
  REGAN, Administrator, United States
  Environmental Protection Agency,

        Respondents.

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  PACIFICORP; DESERET GENERATION
  & TRANSMISSION CO-OPERATIVE;
  UTAH MUNICIPAL POWER AGENCY,

        Petitioners,

  v.                                                      No. 23-9512
                                               (EPA No. EPA-R08-OAR-2022-315)
  UNITED STATES ENVIRONMENTAL                   (Environmental Protection Agency)
  PROTECTION AGENCY; MICHAEL S.
  REGAN, Administrator, United States
  Environmental Protection Agency,

        Respondents.

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  UTAH ASSOCIATED MUNICIPAL
  POWER SYSTEMS,

        Petitioner,
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  v.                                                   No. 23-9520
                                            (EPA No. EPA-R08-OAR-2022-315)
  UNITED STATES ENVIRONMENTAL                (Environmental Protection Agency)
  PROTECTION AGENCY; MICHAEL S.
  REGAN, Administrator, United States
  Environmental Protection Agency,

        Respondents.

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  STATE OF OKLAHOMA, by and through
  its Attorney General; GENTNER F
  DRUMMOND; OKLAHOMA
  DEPARTMENT OF ENVIRONMENTAL
  QUALITY,

        Petitioners,

  v.                                                    No. 23-9514
                                            (EPA No. EPA-RO6-OAR-2021-0801)
  U.S. ENVIRONMENTAL PROTECTION               (Environmental Protection Agency)
  AGENCY; MICHAEL S. REGAN,
  Administrator, United States
  Environmental Protection Agency,

        Respondents.

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  OKLAHOMA GAS & ELECTRIC
  COMPANY,

        Petitioner,

  v.                                                   No. 23-9521
                                            (EPA No. EPA-HQ-OAR-2021-0663)
  UNITED STATES ENVIRONMENTAL                (Environmental Protection Agency)
  PROTECTION AGENCY; MICHAEL S.
  REGAN, Administrator, United States
  Environmental Protection Agency,


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        Respondents.

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  TULSA CEMENT LLC, d/b/a Central
  Plains Cement Company LLC; REPUBLIC
  PAPERBOARD COMPANY LLC,

        Petitioners,

  v.                                                     No. 23-9533
                                              (EPA No. EPA-HQ-OAR-2021-0663)
  UNITED STATES ENVIRONMENTAL                  (Environmental Protection Agency)
  PROTECTION AGENCY; MICHAEL S.
  REGAN, Administrator, United States
  Environmental Protection Agency,

        Respondent.

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  WESTERN FARMERS ELECTRIC
  COOPERATIVE,

        Petitioner,

  v.                                                     No. 23-9534
                                              (EPA No. EPA-HQ-OAR-2021-0663)
  UNITED STATES ENVIRONMENTAL                  (Environmental Protection Agency)
  PROTECTION AGENCY; MICHAEL S.
  REGAN, Administrator, United States
  Environmental Protection Agency,

        Respondents.
                          _________________________________

                                       ORDER
                          _________________________________

 Before TYMKOVICH and CARSON, Circuit Judges.
                  _________________________________



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        Petitioners have filed motions to stay EPA’s final disapproval of Oklahoma’s and

 Utah’s respective state implementation plans regarding their Good Neighbor obligations

 under the 2015 ozone NAAQS. EPA has responded and petitioners have replied.

        In deciding whether to grant a stay pending these petitions for review, we consider

 the traditional factors: “(1) whether the stay applicant has made a strong showing that he

 is likely to succeed on the merits; (2) whether the applicant will be irreparably injured

 absent a stay; (3) whether issuance of the stay will substantially injure the other parties

 interested in the proceeding; and (4) where the public interest lies.” Nken v. Holder,

 556 U.S. 418, 434 (2009) (internal quotation marks omitted).

        We conclude petitioners have satisfied their burden as to each of these factors.

 We therefore stay EPA’s final disapproval of Oklahoma’s and Utah’s respective Good

 Neighbor state implementation plans for the 2015 ozone NAAQS. This stay will remain

 in place until the disposition of these petitions for review on their merits, or until further

 order of this court. Because EPA may not enforce a federal implementation plan without

 first disapproving a state implementation plan, EPA may not enforce its federal Good

 Neighbor plan for the 2015 ozone NAAQS against Oklahoma or Utah while the stay

 remains in place.


                                                Entered for the Court



                                                CHRISTOPHER M. WOLPERT, Clerk




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